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AO 245B (Rev 12/03) Judgment in a Criminal Case
         Sheet 1




                                     United States District Court
                                                  SOUTHERN DISTRICT OF GEORGIA
                                                      BRUNSWICK DIVISIO N

         UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CAS E
                     V.

                   Katherine Crap s                                         Case Number :            CR205-00037-011

                                                                            USM Number :              57459-01 9

                                                                            J . Alvin Leaphart
                                                                            Defendant 's Attorne y

THE DEFENDANT :
[X] pleaded guilty to Count           1   .
         pleaded nolo contendere to Count(s) _ which was accepted
         by the court.
         was found guilty on Count(s)_ after a plea of not guilty.

The defendant has been convicted of the following offense :


      Title & Section Nature of Offense Offense Ended Coun t

                               Conspiracy to distribute a quanti ty of cocaine hydrochloride              July 2005 1
      21 U.S .C. § 846
                               and a quantity of marihuana

       The defendant is sentenced as provided in pages 2 through 6 of this judgment . The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 .

[]       The defendant has been found not guilty on count(s)- .
[]       Count(s)_ (is)(are) dismissed on the motion of the United States .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .




                                                                                 June 15, 200 6

                                                                                 Date of Imposition of Judgment



                                                                                 Signature of Judg




                                                                                 Judge, U .S . District Court
                                                                                 Name and Title of Judge



                                                                                 Date
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        Sheet 2 - Imprisonment

DEFENDANT : Katherine Crapps
CASE NUMBER : CR205-00037-011
                                                    IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 10 months .

[X] The Court makes the following recommendations to the Bureau of Prisons :

          That the defendant be incarcerated at the facility located at Coleman, Florida .

[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district :

          [ ] at _ [ ] a .m. [ ] p .m. o n
          [ ] as notified by the United States Marshal .

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :

          [ ] before 2 p.m. on
          [ ] as notified by the United States Marshal .
          [ ] as notified by the Probation or Pretri al Services Office .
                                                       RETURN
          I have executed this judgment as follows :




          Defendant delivered on to
at , with a certified copy of this judgment .




                                                                                         United States Marshal


                                                                               By
                                                                                      Deputy United States Marshal
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       Sheet 3 - Supervised Release

DEFENDANT : Katherine Crapps
CASE NUMBER : CR205-00037-011
                                                           SUPERVISED RELEAS E
Upon release fr om imprisonment , the defendant shall be on supervised release for a term of. 3 years .

          The defend an t must report to the probation office in the district to which the defend ant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit an other federal , state, or local crime .

The defendant shall not unlawfully possess a controlled substan ce . The defendan t shall refrain from an y unlawful use of a controlled subst ance . The
defend ant shall submit to one drug test within 15 days of release fr om imprisonment and at least two periodic drug tests thereafter, as determined by the
court .

II        The above drug testing condition is suspended, based on the court' s determination that the defendant poses a low ri sk of future substance abuse .
          (Check, if applicable . )

[X] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon . (Check, if applicable.)

[X] The defendant shall cooperate in the collection of DNA as directed by the probation officer . (Check, if applicable . )

          The defend ant shall register with the state sex offender registration agency in the state where the defend an t resides, works , or is a student, as
          directed by the probation officer . (Check, if applicable . )

          The defend an t shall participate in an approved program for domestic violence. ( Check, if applicable . )

         If this judgment imposes a fine or restitution, it is a condition of supe rvised release that the defend ant pay in accordance with the Schedule of
Payments sheet of this judgment .

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
att ached page .

                                             STANDARD CONDITIONS OF SUPERVISION

1) the defend an t shall not leave the judicial district without the permission of the cou rt or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month ;
3) the defend ant shall an swer truthfully all inquiri es by the probation officer and follow the instructions of the probation officer ;

4) the defend an t shall suppo rt his or her dependents an d meet other family responsibilities ;
5) the defendan t shall work regularly at a lawful occupation unless excused by the probation officer for schooling , training, or other acceptable
       reasons ;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment ;
7) the defend ant shall refrain from excessive use of alcohol and shall not purchase , possess, use, distribute , or administer an y controlled substance
       or any paraphern alia related to an y controlled substances , except as presc ri bed by a physician ;

8) the defendant shall not frequent places where controlled subst ances are illegally sold, used , distributed , or administered ;
9) the defendan t shall not associate with any persons engaged in criminal activity an d shall not associate with an y person convicted of a felony,
       unless granted permission to do so by the probation officer;
10) the defendan t shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit con fiscation of any
       contrab and obse rved in plain view of the probation officer;

11) the defendan t shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendan t shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
       of the court ;
13) as directed by the probation officer , the defendant shall notify third parties of ri sks that may be occasioned by the defendant's criminal record
        or personal histo ry or characteristics and shall permit the probation officer to make such notification and to confirm the defend an t 's compli an ce
        with such notification requirement ; an d

14) Any possession , use, or attempted use of an y device to impede or evade drug testing shall be a violation of supe rvised release .
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        Sheet 3C - S upervised Releas e

DEFENDANT : Katherine Crapps
CASE NUMBER : CR205-00037-01 1


                                            SPECIAL CONDITIONS OF SUPERVISIO N


1 . The defendant shall participate in a program of treatment for drug and alcohol abuse .

2 . The defendant shall participate in a program of testing for drug and alcohol abuse .

3 . The defendant shall participate in a program of mental health treatment .

4 . The defendant shall complete 150 hours of community service during the first 18 months of supervision .

5 . The defendant shall provide the probation officer with access to any requested financial information . The
        defendant shall not incur new credit charges or open additional lines of credit without the approval of the
        probation officer unless the defendant is in compliance with the installment payment schedule .




                                                    ACKNOWLEDGMEN T

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision .

These conditions have been read to me . I fully understand the conditions and have been provided a copy of them .



    (Signed)
                    Defendant                                Date




                    U . S . Probation Officer/Designated Witness Date
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       Sheet 5 - Criminal Monetary Penalties

DEFENDANT : Katherine Crapps
CASE NUMBER : CR205-00037-01 1
                             CRIMINAL MONETARY PENALTIE S

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6 .
                                                          Assessment                       Fine Restitution

 Totals :         $100                               $2,500                                                             $N/A

         The determination of res titution is deferred until        An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such a determination .

II       The defendant must make restitution (including community restitution) to the following payees in the amounts listed below .

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
        otherwise in the priority order or percentage payment column below . However, pursuant to 18 U .S .C . § 3664(i), all nonfederal
        victims must be paid before the United States is paid .


            Name of Payee Total Loss* Restitution Ordered Priority or Percentag e




               Totals :


         Restitution amount ordered pursuant to plea agreement                $

         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
         the fifteenth day after the date of judgment, pursuant to 18 U .S .C . § 3612(f) . All of the payment options on Sheet 6 maybe subject
         to penalties for delinquency and default pursuant to 18 U .S .C. § 3612(g) .
II       The court determined that the defendant does not have the ability to pay interest and it is ordered that :

                   The interest requirement is waived for the [ ] fine [ ] restitution .
                   The interest requirement for the [ ] fine [ ] restitution is modified as follows :


* Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA and 113A of Title 18 for offenses commi tt ed on or after
September 13, 1994, but before April 23, 1996 .
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         Sheet 6 - Criminal Monetary Penaltie s

DEFENDANT : Katheri ne Crapps
CASE NUMBER: CR205-00037-011
                                                    SCHEDULE OF PAYMENT S

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows :

A [X] Lump sum payment of $ 100 due immediately, balance due

           [ ] not later than _; or
           [X] in accordance with [ ] C, [ ] D, [ ] E, or [X] F below ; or

B[ ] Payment to begin immediately (maybe combined with [ ] C, [ ] D, or [ ] F below) ; or

C[ ] Payment in equal _ (e .g ., weekly, monthly, quarterly) installments of Lover a period of_ (e .g ., months or years), to commence
       _ (e .g ., 30 or 60 days) after the date of this judgment; or

D[ ] Payment in equal _ (e .g ., weekly, monthly, quarterly) installments of Lover a period of _ (e .g ., months or years), to commence
       _(e .g ., 30 or 60 days) after release from imprisonment to a term of supervision ; o r

E[ ] Payment during the term of supervised release will commence within - (eg ., 30 or 60 days) after release from imprisonment .
       the court will set the payment plan based on an assessment of the defendant's ability to pay at that time ; or

F [X ] Special instructions regarding the payment of criminal monetary penalties :

         While in the custody of the Bureau of Prisons, the defendant shall make payments of either quarterly installments of a
         minimum of $25 if working non-UNICOR or a minimum of 50 percent of monthly earnings if working UNICOR . Upon
         release fr om imprisonment and while on supe rvised release, the defendant shall make minimum monthly payments of
         $100 over a period of 25 months . Payments are to be made payable to the Clerk, U .S . District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment . All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court .
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed .


I        Joint and Several
            Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
            Amount, and corresponding payee, if appropriate :



I        The defendant shall pay the cost of prosecution .


II       The defendant shall pay the following court cost(s) :



         The defendant shall forfeit the defendant's interest in the following property to the United States :



Payments shall be applied in the following order : (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest ; (6) community restitution ; (7) penalties, and (8) costs, including cost of prosecution and court costs .
